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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA "                              ,ci``'
                                                                               a 5: l 3
                    SAVANNAH DIVISIO N


UNITED STATES OF AMERICA, )

v.            )                            Case No . CR407-037

ISIDRO PULIDO-TEJEDO, an d
JOSE MARTIN OROZCO-CUELLAR, )

            Defendants .
                                 ORDER

     Let a copy of this Report and Recommendation be served upon
plaintiff and counsel for the defendants . Any objections to this Report and
Recommendation must be filed with the Clerk of Court not later than July

2, 2007 . The Clerk shall submit this Report and Recommendation together
with any objections to the Honorable B . Avant Edenfield, United States
District Judge, on July 3, 2007 . Failure to file an objection within the
specified time means that this Report and Recommendation may become the

opinion and order of the Court, Nettles v. Wainwright, 677 F .2d 404 (5th
Cir . 1982), and further waives the right to appeal the District Court's Order .
Thomas v. Arn, 474 U .S . 140 (1985) .
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the
District Judge to whom this case is assigned .
      SO ORDERED this /9 day of June, 2007 .

                                           UNITEW-STATES MAGISTRATE JUDGE
                                           SOUTHERN DISTRICT OF GEORGIA
